Case 2:24-cv-04055-JXN-LDW             Document 117         Filed 09/20/24       Page 1 of 23 PageID:
                                              859




                                                      Liberty Square Building
                                                      450 5th Street, N.W.
                                                      Washington, DC 20530

                                                    September 20, 2024


 VIA ECF
 Honorable Leda Dunn Wettre, U.S.M.J.
 U.S. District Court for the District of New Jersey
 Martin Luther King Jr. Bldg. & U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

          Re:    United States of America, et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)
                 Joint Letter Regarding Disputes Over the Protective Order, ESI Protocol,
                 and Source Code Protocol

 Dear Judge Wettre:

          Plaintiffs and Defendant respectfully submit this joint letter pursuant to the Court’s Order
 dated August 7, 2024 (ECF No. 94). The parties have met and conferred on numerous occasions
 since the issuance of the Order and over the previous several months. This letter outlines the areas
 of dispute over the Protective Order, ESI Protocol, and Source Code Protocol. Accompanying this
 letter are Plaintiffs’ and Defendant’s proposed Protective Orders (Exhibits A and B, respectively),
 the proposed ESI Protocol with Plaintiffs’ and Defendants’ separate positions identified (Exhibit
 C), and the proposed Source Code Protocol with Plaintiffs’ and Defendants’ separate positions
 identified (Exhibit D).

     I.   GLOBAL ISSUE (Definition of “Party” and “Parties”)1

          A. Plaintiffs’ Position

         The Antitrust Division of the U.S. Department of Justice and the respective Attorneys
 General of the Plaintiff States initiated this antitrust enforcement action as plaintiff prosecutors.
 Consistent with this prosecutorial role, in these discovery-related protocols, Plaintiffs define the
 “Parties” as “the Antitrust Division of the United States Department of Justice, the Attorney



 1
   The issue concerning the definition of “Parties” applies to all three protocols. It is the only matter
 in dispute on the Data Source Code Protocol. See Ex. D §2(n).

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Case 2:24-cv-04055-JXN-LDW              Document 117        Filed 09/20/24      Page 2 of 23 PageID:
                                               860



 Generals for the Plaintiff States, and Defendant.”2 Apple insists that the parties for purposes of
 these orders means “the United States” as a whole and “the Plaintiff States” as a whole. For these
 discovery protocols, the Court should adopt Plaintiffs’ definition as commensurate with the actual
 scope of Plaintiffs’ preservation and discovery obligations in this case.

          Apple’s position—that it is entitled to seek “party” discovery from potentially every federal
 and every state agency—is unfounded, premature, and unduly burdensome. Apple offers no
 justification for why extensive party discovery of hundreds of federal and state agencies is relevant
 and proportional to the needs of the case, why non-party discovery would not suffice, or how any
 potential evidentiary value would justify the burden involved. Nor can it, because Apple fails to
 identify any particular federal or state agency from whom it may seek discovery or the concrete
 nature and scope of such discovery.3

                  1. Party Discovery Obligations Do Not Extend to the Entirety of
                     Government

        The Federal Rules, case law, and common sense dictate that discovery obligations do not
 extend to the entirety of a government every time a prosecuting agency files suit. The Federal
 Rules limit party discovery to materials in the parties’ “possession, custody, or control.”
 FED.R.CIV.P. 34(a)(1). In civil cases brought by the federal government, courts routinely conclude
 that materials in the “possession, custody, or control” of the United States are limited to the
 prosecution team and any agencies that jointly participated in, or significantly contributed to, the
 case:

           The United States acting as plaintiff prosecutor does not open up the entire federal
           government to party discovery. . . . Rather, the custody or control of discoverable
           materials extends to the materials in possession of the federal agency that is
           engaged in a joint or combined effort to prosecute a matter.

 United States v. Xlear Inc., 2022 WL 5246717, at *2 (D. Utah Oct. 6, 2022) (cleaned up); Deane
 v. Dynasplint Sys., Inc., 2015 WL 1638022 at *4 (E.D. La. Apr. 13, 2015) (collecting more than a
 dozen cases explaining that discovery extends to another agency only “when the Justice
 Department is engaged in a joint effort with that other agency or when the other agency is so
 closely aligned with the Justice Department as to be part of the prosecuting government team or
 has contributed significantly to the investigation or prosecution”). Criminal cases similarly limit
 party discovery against the United States to materials in the possession, custody, and control of
 the prosecution team. United States v. Cano, 934 F.3d 1002, 1023 (9th Cir. 2019) (“[A] federal
 prosecutor need not comb the files of every federal agency”).



 2
     Ex. A, §A.2.l; Ex. C §1.8; Ex. D §2(n).
 3
  Discovery has not been commenced. Should the scope of Party discovery arise in the context of
 contested discovery requests, Plaintiffs will fully brief the issue.

                                                    2
Case 2:24-cv-04055-JXN-LDW            Document 117         Filed 09/20/24      Page 3 of 23 PageID:
                                             861



         The proposals before the Court—especially the ESI Protocol—impose broad-based
 discovery obligations on the “Parties.” The ESI Protocol requires “[e]ach Party” to “preserve
 potentially relevant and discoverable Documents and ESI,” including text messages, voicemails,
 video files, and documents in collaborative platforms. These obligations properly encompass the
 U.S. Department of Justice’s Antitrust Division and the State Antitrust Divisions of the Offices of
 the Attorney General for the twenty Plaintiff States.4 But these obligations do not extend to the
 NASA, the Library of Congress, or the hundreds of other federal agencies that are not prosecuting
 this action. Nor do these obligations cover state agencies like the fifty-plus New Jersey State
 agencies besides its prosecutor.

                2. Apple’s Caselaw Is Unavailing

          Apple leans on United States v. American Telephone & Telegraph Co. in its bid for whole-
 of-government discovery. 461 F. Supp. 1314 (D.D.C. 1978) (“AT&T”). But AT&T is limited to its
 “peculiar facts,” id. at 1334, which are not present here. In AT&T, “the nature and extent of the
 [federal] regulation to which defendants are subject” and the “Government’s own policies” were
 squarely at issue, because the prosecutors had coordinated with “government executives involved
 in economic policy,” “the White House,” and “various [other] government departments.” Id. For
 those reasons, the court concluded that the case was “likely to involve the documents and the
 activities of a great number of government departments” and therefore a broad definition of
 “Plaintiff” fit the needs of the case. Id. Mindful that the ruling “might encourage other litigants in
 other cases to rummage through the files of the entire government, and so paralyze both the work
 of numerous agencies and that of the courts,” the court limited its holding to “these peculiar facts.”
 Id.

         Those facts are not present here. This case does not involve a cross-agency investigative
 effort or implicate the records of many government agencies. There are no specific federal agencies
 or employees on the Parties’ initial disclosures. And, here, as in AT&T, authorizing party discovery
 on the entire government would risk grave adverse consequences.

          Similarly, the Attorneys General brought this action in their independent law enforcement
 capacity representing the people of their states. They are neither seeking relief for state agencies
 nor asserting damages claims. Numerous courts conclude that state agencies “are not to be treated
 as parties to [an] action for the purposes of discovery.” See Colorado v. Warner Chilcott Holdings
 Co. III, 2007 WL 9813287, at *4 (D.D.C. May 8, 2007) (“[W]here two government agencies are
 neither interrelated nor subject to common executive control, they will not be aggregated together
 for purposes of discovery.”); United States v. Am. Express Co., 2011 WL 13073683, at *2
 (E.D.N.Y. July 29, 2011) (“[T]he decision to pursue an enforcement action against Amex was one
 of policy, made independently of the State Governors and state agencies. . . . for purposes of this
 litigation and discovery, the state agencies [with one exception] are not parties”); United States v.
 Novartis Pharms. Corp., 2014 WL 6655703, at *9 (S.D.N.Y. Nov. 24, 2014) (“[T]he mere fact

 4
   The “State Antitrust Divisions” are the units, departments, or subdivisions within the Offices of
 the Attorney General of each respective Plaintiff State that are responsible for enforcing the laws
 and claims asserted in this litigation.

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Case 2:24-cv-04055-JXN-LDW              Document 117         Filed 09/20/24       Page 4 of 23 PageID:
                                               862



 that a state or a state agency sues does not mean that the records of all state agencies may be
 discovered using Rule 34’s tools.”). Apple’s definition of “Party” is neither appropriate nor
 proportional.

         B. Defendant’s Position

         Plaintiffs’ proposed definition of “Party” would dramatically and unjustifiably narrow the
 scope of Plaintiffs’ discovery obligations. Apple seeks to define “Party” or “Parties”—quite
 naturally—as the parties to this lawsuit—that is, “any individual Plaintiff or the Defendant in the
 above captioned action.” See Dkt. 51. That would define the term “Parties” to include the United
 States of America, each of the Plaintiff States, and Apple Inc. Apple’s definition is consistent with
 both common sense and how the term “Party” has been defined in similar discovery protocols in
 government antitrust cases. See, e.g., FTC v. Amazon.com, Inc., No. 2:23-cv-01495-JHC, Dkt.
 160 at § 2.11 (W.D. Wash. Feb. 13, 2024); Texas v. Google LLC, No. 4:20-cv-00957-SDJ, Dkt.
 101 at 5 (E.D. Tex. Apr. 14, 2021); United States v. UnitedHealth Grp., Inc., No. 1:22-cv-00481
 (CJN), Dkt. 28 at 3 (D.D.C. Mar. 9, 2022); United States v. Visa Inc., No. 4:20-cv-07810-JSW,
 Dkt. 49 at 3 (N.D. Cal. Nov. 25, 2020).

         Plaintiffs rejected that straightforward definition. Instead, Plaintiffs insist on defining
 “Parties” to include only “the Antitrust Division of the United States’ Department of Justice, the
 Attorneys General for the Plaintiff States, and Defendant in this Action.” That makes no sense.
 Neither the Antitrust Division nor any state attorney general is a named plaintiff in this case.
 Rather, they are merely divisions of governmental agencies tasked by the United States and
 Plaintiff States with litigating this case. Insisting that the Plaintiff parties be limited in this way is
 akin to Apple insisting that the term “Defendant” include only the law firms or in-house counsel
 representing Apple in this case. Such a construction is illogical, and the Court should reject it.
 The term “Parties” should be defined by the entities named in the caption—no more, no less.

         Plaintiffs’ efforts to artificially limit the scope of who constitutes a “Party” appears driven
 by their desire to restrict the scope of their discovery obligations. Apple intends to seek discovery
 from the various federal and state agencies that have relevant information. Because the United
 States and Plaintiff States are named parties, Apple will serve those requests as “party” discovery.
 Apparently anticipating that, Plaintiffs seek to define the term “Party” narrowly to avoid
 obligations to preserve, collect, review, and produce documents from various federal and state
 agencies.

          That effort runs aground on common sense and ample precedent. United States v. Am. Tel.
 & Tel. Co. addressed this same question: “who is the plaintiff?” 461 F. Supp. 1314, 1330 (D.D.C.
 1978). There, the United States argued that “plaintiff” meant only the Department of Justice and
 that all other agencies and governmental departments were not parties and, therefore, subject only
 to third-party discovery under Federal Rule of Civil Procedure 45. Id. In rejecting the
 government’s position, the court recognized that “th[e] action, as its caption indicates, was brought
 not on behalf of the Department of Justice but on behalf of the United States of America.” Id. at
 1333. Particularly in the context of an antitrust case that was “national in scope,” involved “broad
 economic policy,” and was likely to implicate “the documents and the activities of a great number
 of government departments,” the court noted that “it simply ma[de] no sense to hold that the
 Department of Justice, which essentially is a law office, alone comprises the United States.” Id.

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Case 2:24-cv-04055-JXN-LDW            Document 117         Filed 09/20/24      Page 5 of 23 PageID:
                                             863



 at 1333-34. Thus, the court held that “the United States, having filed the action, cannot claim to
 be merely the Department of Justice.” Id. at 1334; see also United States v. Atrium Village Assocs.,
 1988 WL 2778, at *1 (N.D. Ill. Jan. 12, 1988) (“[A] fair reading of [AT&T] is that it is unrealistic
 to view the Department of Justice as the sole plaintiff when the United States brings a federal law
 enforcement action.”); North Dakota v. United States, 2021 WL 6278456, at *4-6 (D.N.D. Mar.
 24, 2021) (noting that “the United States’ obligation to respond to discovery requests is not limited
 to an agency named in the action” and that North Dakota was not foreclosed “from seeking
 discovery from other federal agencies who possess relevant information” under Rule 34).5

         The same is true for state attorneys general bringing cases on behalf of their states. See
 Washington v. GEO Grp., Inc., 2018 WL 9457998, at *3 (W.D. Wash. Oct. 2, 2018) (“[W]here
 the plaintiff is the State of Washington, discovery addressed to the State of Washington includes
 its agencies. Because the [Attorney General’s Office] is the law firm of the State of Washington,
 [it] should respond to and produce discovery on behalf of the State of Washington, including its
 agencies.”). Plaintiff States cannot avoid their obligations to preserve and produce relevant
 documents from state agencies through narrow wordsmithing. Cf. In re Generic Pharms. Pricing
 Antitrust Litig., 699 F. Supp. 3d 352, 357-61 (E.D. Pa. 2023) (ordering several state attorneys
 general to produce documents from other state agencies under Rule 34 in a “wide-ranging”
 antitrust lawsuit); In re Social Media Adolescent Addiction/Personal Injury Prods. Liability Litig.,
 2024 WL 4125618, at *24-129 (N.D. Cal. Sept. 6, 2024) (granting Meta’s motion to compel
 production of state-agency documents under Rule 34 from thirty-four plaintiff states involved).

         Plaintiffs brought this case on behalf of the United States and each of the Plaintiff States.
 Plaintiffs must now carry the discovery and preservation obligations that go along with naming
 those entities as parties to the litigation.

     II.   PROTECTIVE ORDER

           A. Plaintiffs’ Position

        Plaintiffs’ Proposed Protective Order (“PPO”): (1) provides for one category of
 designation, Confidential, where Confidential Information could be disclosed only to four
 5
    Plaintiffs’ cases are not to the contrary. In Deane v. Dynasplint Sys., Inc., a civil case alleging
 illegal Medicare reimbursements, each of the “more than a dozen cases” cited by the court were
 criminal cases, see 2015 WL 1638022, at *4 (E.D. La. Apr. 13, 2015), where discovery rules are
 more limited. Far from definitively limiting party discovery to the prosecuting agency, the court
 opined that “the scope of the government’s obligation to produce documents … turn[s] on the
 extent to which the prosecutor has knowledge of and access to the documents.’” Deane, 2015 WL
 1638022, at *4 (quoting United States v. Libby, 429 F. Supp. 2d 1, 6 (D.D.C. 2006)). The court
 held that for purposes of party discovery, the parties included not only the Department of Justice
 and U.S. Attorney’s Office, but also the Department of Health and Human Services and Centers
 for Medicare & Medicaid Services. Id. at *5. Similarly, in United States v. Xlear Inc., the court
 noted that obtaining agency discovery through a government plaintiff can be appropriate for
 “[p]racticality reasons” where “Rule 45 subpoenas would ‘likely be more time-consuming and
 could result in delay of the litigation.’” 2022 WL 5246717, at *2 (D. Utah Oct. 6, 2022) (quoting
 North Dakota, 2021 WL 6278456, at *5)).

                                                   5
Case 2:24-cv-04055-JXN-LDW             Document 117         Filed 09/20/24      Page 6 of 23 PageID:
                                              864



 designated Apple In-House Attorneys who are identified to Plaintiffs and not involved in business
 decisions; (2) precludes disclosure to Apple non-lawyer officers, directors, or employees; and
 (3) requires a Receiving Party to comply with applicable data security and breach response
 notification laws and practices, consistent with prior antitrust litigation involving the United States
 and Plaintiff States. Apple’s proposal essentially renders Confidential Information non-
 confidential. Such information would be broadly shared with Apple’s officers, directors, and
 employees, and all of Apple’s in-house counsel—more than 500 attorneys. There would be no
 practical limits on their ability to use this information to participate in business decision-making
 that impacts Apple’s customers and competitors. These provisions do not meaningfully protect
 non-parties’ Confidential Information. In addition, Apple’s data security and breach proposals
 impose onerous burdens on Plaintiffs that are inconsistent with prior practice.

         Plaintiffs request that the Court allow non-parties fourteen days to submit their own
 positions concerning the disclosure of Confidential Information.

                1. Disclosure to Defendant’s In-House Attorneys (PPO § I.21.e)

                        a. Plaintiffs’ Proposal Provides Meaningful Protection Against
                           Disclosure of Non-Party Confidential Information to Apple’s In-
                           House Attorneys

         After months of negotiations, less than two weeks before this filing, Apple changed its
 position to reject the parties’ apparent agreement that Confidential Information would be limited
 to four Apple In-House Attorney disclosed to Plaintiffs and not involved in business decisions.
 Apple noted on September 10 that the distinctions between the persons to whom Confidential
 Information and Highly Confidential Information could be disclosed had largely collapsed.
 Plaintiffs agreed and revised Plaintiffs’ PPO to provide for only a single designation, Confidential.
 Apple preserved a two-designation structure that allowed disclosure of Confidential Information
 to an unlimited number of its In-House Attorneys whether they participate in competitive decision-
 making or not. Plaintiffs reject this last-minute and ill-advised change.

         Plaintiffs’ PPO protects Confidential non-party information while allowing Apple’s In-
 House Attorneys to assist in their client’s defense. In reviewing protective orders, courts balance
 the risk of inadvertent disclosure of commercially sensitive information to competitors against the
 needs of the party seeking discovery to prosecute or to defend the case. Brown Bag Software v.
 Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992). Courts grant in-house counsel access to
 confidential information only after determining that those recipients do not participate in
 competitive decision-making. See F.T.C. v. Whole Foods Mkt., 2007 WL 2059741, at *2 (D.D.C.
 July 6, 2007) (summarizing U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984),
 which “would preclude access to information to anyone who was positioned to advise the client as
 to business decisions that the client would make regarding, for example, pricing, marketing, or
 design issues when that party granted access has seen how a competitor has made those
 decisions”). “The primary concern underlying the ‘competitive decision-making test’ is that
 confidential information will be used or disclosed inadvertently because of the lawyer’s role in the
 client’s business decisions.” United States v. AB Electrolux, 139 F. Supp. 3d 390, 392 (D.D.C.
 2015).

                                                   6
Case 2:24-cv-04055-JXN-LDW            Document 117        Filed 09/20/24      Page 7 of 23 PageID:
                                             865



         The potential harm to non-parties is real. During Plaintiffs’ pre-Complaint investigations,
 Apple’s customers and competitors produced competitively sensitive information, including
 contracts, business strategies and plans, presentations to executives, and internal financial
 projections, and more will be produced during discovery. Non-parties strongly oppose allowing
 Apple’s In-House Attorneys’ access to their Confidential Information, expressing alarm that they
 may inadvertently rely on their Confidential Information when advising Apple about business
 decisions.

         Apple raised similar concerns in a recent government antitrust enforcement action against
 Google. Apple sought to “prevent disclosure of certain highly confidential Apple materials to in-
 house counsel for Google,” because Google was Apple’s competitor “in the development of
 mobile operating system software, app stores, and mobile devices,” and its agreements with
 Google were at issue in the case. Non-Party Apple Inc.’s Position Statement on Protective Order
 in United States v. Google, 1:20-cv-03010 (D.D.C. Nov. 20, 2020), ECF 47 at 2. Apple argued
 that disclosure of competitively sensitive information “would directly implicate future business
 dealings between Apple and Google, provide Google with a substantial advantage over Apple in
 negotiations, and potentially disadvantage competitor[s] … that negotiate with Apple[.]” Id. The
 same is true here, where Apple is the defendant, and its customers and competitors are non-parties.

         Courts credit these concerns, recognizing the inherent risk of permitting in-house counsel
 access to confidential information of customers or competitors. The risk of inadvertent disclosure
 is higher for in-house counsel than outside counsel because compartmentalization of protected
 information is “a feat beyond the compass of ordinary minds,” and an “individual cannot rid
 himself of the knowledge he has gained; he cannot perform a prefrontal lobotomy on himself….”
 F.T.C. v. Advocate Health Care Network, 162 F. Supp. 3d 666, 669-70 (N.D. Ill. Feb. 29, 2016).
 See Sullivan Mktg. v. Valassis Commc’ns, 1994 WL 177795, at *3 (S.D.N.Y. May 5, 1994); F.T.C.
 v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980).

         Apple makes no effort to limit disclosure to In-House Attorneys with no role in business
 decisions. Even a narrowed version of Apple’s proposal that would allow some subset of unnamed
 In-House Attorneys to access Confidential Information would not avoid the risk of harm to non-
 parties, as In-House Attorneys routinely move from legal to business roles.

                        b. Apple Has Not Shown Prejudice

        Apple has not shown that it would suffer prejudice by the limitations Plaintiffs propose,
 much less that such prejudice outweighs any risk of inadvertent disclosure. Autotech Techs. Ltd.
 P’ship v. Automationdirect.com, Inc., 237 F.R.D. 405, 406–14 (N.D. Ill. 2006); Presidio
 Components, Inc. v. Am. Tech. Ceramics Corp., 546 F. Supp. 2d 951, 953 (S.D. Cal. 2008).

        Disclosure to In-House Attorneys is not a legal or practical imperative, and antitrust cases
 frequently proceed with protective orders that are limited to outside counsel only. United States v.
 Anthem, 1:16-cv-01493 (D.D.C. Sep. 15, 2016), ECF 129 at 10-11; United States v. US Airways,
 1:13-cv-01236 (D.D.C. Aug. 30, 2013), ECF 55 at 8-9; United States v. BCBS of Michigan, 2:10-
 cv-14155 (E.D. Mich. May 10, 2012), ECF 169 at 6-8; United States v. Dean Foods, 2:10-cv-59
 (E.D. Wis. May 20, 2010), ECF 30 at 7-9. That Apple’s experienced outside antitrust counsel will

                                                  7
Case 2:24-cv-04055-JXN-LDW           Document 117        Filed 09/20/24      Page 8 of 23 PageID:
                                            866



 have access to all Confidential Information is sufficient. Advoc. Heath Care Network, 162 F. Supp.
 3d at 674; Blackbird Tech LCC v. Serv. Lighting & Elec. Supplies, 2016 WL 2904592, at *5 (D.
 Del. May 18, 2016).

         Plaintiffs’ proposal to allow access to Confidential Information to four In-House Attorneys
 who are not involved in business decisions safeguards Confidential Information and follows
 established precedent for protective orders in antitrust cases and this District’s model
 Confidentiality Order. Whole Foods Mkt., 2007 WL 2059741, at *1; AB Electrolux, 139 F. Supp.
 3d at 391; Philips N. Am. v. Glob. Med. Imaging, 343 F.R.D. 59, 61 (N.D. Ill. 2022); United States
 v. Sungard Data Sys., 173 F. Supp. 2d 20, 21 (D.D.C. 2001); Brown Bag Software, 960 F.2d at
 1471; United States v. Aetna, 2016 WL 8738421, at *1 (D.D.C. Sept. 14, 2016); United States v.
 UnitedHealth Group, 1:22-cv-00481 (D.D.C. Mar. 9, 2022), ECF 28 at 10-11.6

        If the Court is inclined to establish two tiers, then the Highly Confidential designation
 should impose even greater restrictions, limiting disclosure to outside counsel only. United States
 v. Google, 1:20-cv-03010 (D.D.C. Jan. 21, 2021), ECF 98 at 13-17; United States v. Sabre Corp.,
 19-cv-1548 (D. Del. Sep. 10, 2019), ECF 24 at 11-12 (entered ECF 26); New York v. Deutsche
 Telekom AG, 19-cv-05434 (S.D.N.Y. Aug. 14, 2019), ECF 185 at 12-14; United States v.
 Bazaarvoice, 13-cv-00133 (N.D. Cal. Mar. 4, 2013), ECF 35 at 12-13; United States v. Am.
 Express Co., 10-cv-4496 (E.D.N.Y. Apr. 7, 2011), ECF 102 at 10-13. Apple itself made this
 request in the Google case, arguing, “There is substantial risk that disclosure of Apple’s highly
 confidential material to employees of Google, including in-house counsel, would result in material
 harm to Apple.” Non-Party Apple Inc.’s Position Statement on Protective Order in United States
 v. Google, 1:20-cv-03010 (D.D.C. Nov. 20, 2020), ECF 47 at 1.

                2.    Disclosure to Defendant’s Non-Lawyer Officers, Directors, or Employees
                     (PPO § I.21.f)

         Apple proposes disclosures of Confidential non-party information to “representatives of
 Apple who are officers, directors, or employees of Apple, as well as their immediate staff, to whom
 [Apple deems] such disclosure is reasonably necessary,” placing sensitive non-party information
 in the hands of Apple’s most senior decision-makers. Allowing these individuals unfettered access
 to Confidential Information—including “confidential research or commercial information”—is
 highly prejudicial to non-parties. The risk that such information may influence Apple’s decision-
 makers is severe when they have direct access to that information. These concerns are amplified
 here where Apple may use its market dominance to thwart or punish companies that produce
 competitively sensitive information.

         Courts regularly enter protective orders that preclude broad disclosure to a defendant’s
 officers, directors, and employees in antitrust enforcement actions brought by the United States.
 See United States v. Google, 1:20-cv-03010 (D.D.C. Jan. 21, 2021), ECF 98 at 13-17; United States
 v. JetBlue Airways, 1:23-cv-10511 (D. Mass. Mar. 20, 2023), ECF 63-1 at 13-16 (entered ECF
 65); United States v. Assa Abloy, 1:22-cv-02791 (D.D.C. Oct. 3, 2022), ECF 33 at 10-11; United

 6
  Apple’s same outside counsel at Kirkland & Ellis entered into the stipulated protective order on
 behalf of UnitedHealth.

                                                 8
Case 2:24-cv-04055-JXN-LDW            Document 117        Filed 09/20/24      Page 9 of 23 PageID:
                                             867



 States v. Booz Allen Hamilton Holding Corp., 1:22-cv-01603 (D. Md. July 18, 2022), ECF 71 at
 9-11; United States v. UnitedHealth Group, 1:22-cv-00481 (D.D.C. Mar. 9, 2022), ECF 28 at 10-
 11.

         Apple’s proposal allows virtually unlimited access to Confidential Information to any
 officer, director or employee to whom it alone thinks “such disclosure is reasonably necessary,”
 failing to put in place any guardrails and without consideration for competitive harm that would
 arise from sharing non-parties’ confidential research or commercial information directly with
 Apple’s business decision-makers. Apple has not shown prejudice, let alone how such prejudice
 outweighs the substantial risk of harm to non-parties.

                3. Data Security (PPO § L.37-42)

         Apple proposes to impose extensive data security and breach response obligations that, to
 Plaintiffs’ knowledge, have never been imposed on the Department of Justice or State Attorneys
 General in antitrust litigation. Apple proposes, among other things, that the United States and
 Plaintiff States “implement an information security management system . . . which shall comply
 with at least one of the then-current versions” of several standards applicable mainly to non-
 governmental entities. Ex. B ¶ 37. If a data breach potentially affects protected materials, Apple
 would require written notification within 48 hours, require the Parties to meet and confer over
 additional security measures, and require collateral discovery into any potential data breach. Apple
 also proposes that a data breach may require a stay or extension of litigation discovery while any
 data breach is investigated. Ex. B ¶ 40. Because these provisions appear in its Proposed Protective
 Order, Apple’s proposal necessarily would require the Court to police Plaintiffs’ compliance with
 data security and data breach protocols.

         Apple’s proposal is neither workable nor necessary. As governmental entities, Plaintiffs
 are bound by specific and varied laws and policies governing data security and breach response.
 The Federal Information Security Modernization Act of 2014 (FISMA) requires federal agencies
 to implement, maintain, and document information security programs, including establishing
 security controls, conducting security assessments, and reporting security incidents and breaches
 in accordance with established protocols. The Department of Justice also complies with the
 cybersecurity and privacy standards in National Institute of Standards and Technology (NIST)
 Special Publication (SP) 800-53 Revision 5, Security and Privacy Controls for Information
 Systems and Organizations, with deviations or Plans of Action and Milestones and risk acceptance
 managed through applicable DOJ policies and procedures.

         The States are bound by laws and policies governing data security and data breach
 obligations. New Jersey, for example, follows the New Jersey Statewide Information Security
 Manual, which requires all State information systems and services to implement, at a minimum,
 Moderate level controls in accordance with NIST SP 800-53 Revision 5. New York’s Information
 Security Policy No:NYS-P03-002 provides a robust framework of policies and procedures
 agencies must follow to ensure the physical and digital security of information. State laws govern
 and establish incident and breach reporting obligations and include, for example, New Jersey’s
 Identity Theft Prevention Act (ITPA), N.J.S.A. 56:8-161 to 56:8-166; California Civil Code §
 1798.29; the Minnesota Government Data Practices Act, Minn. Stat. § 13.01 et seq.; and New
 York’s NYS Technology Law § 208.
                                                  9
Case 2:24-cv-04055-JXN-LDW            Document 117        Filed 09/20/24      Page 10 of 23 PageID:
                                              868




        Government bodies make legislative and administrative judgments about how to
 implement laws and policies to best suit their needs and the needs of their constituents. It would
 be impractical and disruptive to override Plaintiffs’ authority as sovereign governments to instead
 impose a standard of Apple’s choosing.

         Plaintiffs acknowledge they will comply with applicable laws and policies that establish
 the framework under which the Department of Justice and State Attorneys General will maintain
 data security and respond to an incident or breach. Ex. A ¶ 34. National security and law
 enforcement equities may prohibit the Department of Justice from notifying affected persons
 within a certain time frame and disclosing certain information regarding a breach, as Apple
 proposes. The Department of Justice also cannot disclose sensitive information regarding
 government information systems, including any vulnerabilities that may have involved a breach.
 This Protective Order should not impose requirements that could be inconsistent with applicable
 federal or state laws or policies or potentially jeopardize national security, law enforcement, and
 other government equities.

         The only case Apple cites in which the government was subject to additional data security
 protections is United States v. Anthem, Inc., 2024 WL 2982908, at *1-2 (S.D.N.Y. June 12, 2024),
 but there the government agency was planning to host discovery data through a bespoke system
 for the litigation, and the agency’s only objection was that the cost of additional security
 protections was not justified. Apple’s remaining cases are class actions and private disputes that
 are not informative on the appropriate provisions for a data breach in this government enforcement
 action. See, e.g., Floyd v. Amazon.com, Inc., 2023 WL 8701667 (W.D. Wash. Dec. 15, 2023). In
 recent private antitrust cases, Apple has also stipulated to protective orders that do not contain the
 invasive data security and incident or breach response obligations Apple demands here. AliveCor,
 Inc. v. Apple Inc., 4:21-cv-03958 (N.D. Cal. Sep. 9, 2022), ECF 93; Saurikit, LLC v. Apple Inc.,
 4:20-cv-08733 (N.D. Cal. June 24, 2021), ECF 53; Cameron v. Apple, Inc., 4:11-cv-06714 (N.D.
 Cal. Jan. 21, 2021), ECF 381; Epic Games, Inc. v. Apple, Inc., 4:20-cv-05640 (N.D. Cal. Oct. 1,
 2020), ECF 110.

        B. Defendant’s Position

          Plaintiffs’ single-tier confidentiality proposal and limitations on disclosure are unduly
 burdensome, a deviation from typical practice in this District, depart from the approach the DOJ
 has agreed to and apparently found workable in other technology antitrust cases of similar size and
 complexity, impose prejudicial restrictions on Apple’s litigation strategy, and carry a substantial
 risk of over-designation. Under Plaintiffs approach, documents would be subject to only a single
 designation of “Confidential” that operates in practice akin to an “attorneys’ eyes only” provision.
 This single tier would permit only a narrow subset of four in-house counsel to review any
 documents designated Confidential regardless of the degree of sensitivity of the information.
 Plaintiffs brought this litigation, which Apple must now defend. Plaintiffs cannot now seek to
 artificially hamstring Apple’s defense by foreclosing meaningful engagement and review of key
 documents by the Apple employees and in-house counsel most knowledgeable about Apple’s
 business. Of course, such disclosures should be subject to reasonable limits, which Apple’s
 proposed two-tier approach provides. Having two tiers of confidentiality, each with tailored

                                                  10
Case 2:24-cv-04055-JXN-LDW             Document 117       Filed 09/20/24     Page 11 of 23 PageID:
                                               869



 categories for access provides flexibility in terms of who can access what materials depending on
 their sensitivity.

                  1. Confidentiality Designation Tiers7

         For over four months, Plaintiffs agreed with Apple’s position and negotiated a protective
 order that included two tiers of confidentiality: (i) Confidential; and (ii) Highly Confidential –
 Attorneys Eyes Only. This approach is consistent with this District’s Model Discovery
 Confidentiality Order, see NJ R UDSCT App. S (“Model”), and the designations used during the
 Government’s investigation of Apple. In the eleventh hour of negotiations, Plaintiffs abruptly
 insisted insisting on a single confidentiality tier without further discussion the day before the
 Parties were set to exchange final positions.

         Two-tier protective orders are appropriate when heightened protection is necessary for
 particularly sensitive business information. As reflected in the Model, the baseline “Confidential”
 tier encompasses categories of lower-level proprietary information, whereas the “Highly
 Confidential – Attorneys Eyes Only” tier further restricts access to highly sensitive and
 competitive business information. Model at ¶¶ 1-2.

         In the context of technology antitrust cases, courts routinely allow two-tiered designations
 and heightened protection for information such as competitively sensitive trade secrets,
 development and planning for future products, technical details concerning proprietary
 technology, and information regarding internal business strategy. See, e.g., FTC v. Amazon.com,
 Inc., No. 2:23-cv-01495-JHC, Dkt. 160 (W.D. Wash. Feb. 13, 2024); United States v. Google LLC,
 No. 1:23-cv-00108-LMB-JFA, Dkt. 203 (E.D. Va. May 11, 2023).

         Plaintiffs’ single-tier approach is unjustified and unfairly prejudices Apple. For example,
 without two tiers of confidentiality, the multitude of third parties that will produce documents in
 this case will in all likelihood designate all materials as Confidential, which, under Plaintiffs’
 proposal, would greatly restrict the individuals who could review that information. That approach
 would impose significant limitations on who at Apple can view any third-party materials,
 regardless of whether they are competitively sensitive, negatively impacting Apple’s ability to
 consult with its lawyers and prepare its defense. Contrary to Plaintiffs’ position, and discussed
 more fully below, Apple does not seek unfettered access for its employees or in-house counsel to
 either tier of information. Each tier includes safeguards tailored to the sensitivity of the
 information.

         Apple requests that the Court adopt its two-tiered proposal, which is the standard in this
 jurisdiction and consistent with other recent antitrust tech cases and the Parties’ practice during
 the investigation.




 7
     See Ex. B §§ A.2(b), (f), ¶ 22.

                                                 11
Case 2:24-cv-04055-JXN-LDW           Document 117         Filed 09/20/24    Page 12 of 23 PageID:
                                             870



                   2. Access to Confidential Materials8

         Under the two-tiered approach to which the Parties originally agreed, Plaintiffs seek to
 prohibit all Apple officers, directors, or employees—and all but four Apple in-house counsel—
 from accessing the vast majority of materials likely to be used by the Government in prosecuting
 its case. Plaintiffs’ position is untenable.

         Forbidding all but four Apple in-house counsel from reviewing any Confidential materials
 is highly prejudicial and would prevent essential Apple employees and in-house counsel from
 assisting in the company’s defense against a case attacking a broad swath of products, services,
 and design decisions. Indeed, Plaintiffs’ own cited case recognizes that “[t]o deny outside counsel
 access to the lawyers most familiar with their clients’ business … and who will have a much deeper
 and complete understanding of the documents being produced … is to make [defendants] fight
 with one hand behind their backs.” United States v. Sungard Data Sys., Inc., 173 F. Supp. 2d 20,
 21 (D.D.C. 2001). What’s true for in-house counsel applies also to Apple employees, whose
 technical knowledge and expertise are needed by outside counsel to evaluate Plaintiffs’ claims
 implicating Apple’s advanced, proprietary technology. See Motorola, Inc. v. Lemko Corp., 2010
 WL 2179170, at *5 (N.D. Ill. June 1, 2010) (recognizing “legitimate need for … outside counsel
 to be able to consult with client representatives other than lawyers”).

         As such, Apple proposes that employees and counsel be allowed to view Confidential
 materials, with key limitations preventing unfettered access. Specifically, Apple proposes that
 Confidential materials my only be disclosed to Apple officers, directors, employees, and in-house
 counsel, as well as their immediate staff, where such disclosure is reasonably necessary for this
 Action, and provided that each individual agrees to be bound by the Protective Order. Even
 tighter access limitations would apply to Highly Confidential materials.9

         The Model and precedent support Apple’s position. The Model allows disclosure of
 Confidential materials to relevant in-house counsel and the parties’ representatives where such
 disclosure is “necessary” to the litigation. See Model at ¶ 4(g). Similarly, in United States v.
 Google LLC, the protective order permits disclosure of confidential information to “the officers,
 directors, and employees (including In-House Counsel) of Defendant to whom disclosure is
 reasonably necessary for this litigation.” No. 1:23-cv-00108-LMB-JFA, Dkt. 203 at 20 (E.D. Va.
 May 11, 2023). See also Motorola, Inc. v. Lemko Corp., No. 1:08-cv-05427, Dkt. 96 at 5-6 (N.D.
 Ill. Apr. 3, 2009) (allowing disclosure of Confidential information to employees “required in good
 faith to provide assistance”); In re Lantus Direct Purchaser Antitrust Litig., No. 1:16-cv-12652,
 Dkt. 98 at 12 (D. Mass Apr. 27, 2020) (similar).



 8
     Ex. B ¶ 21.
 9
    Specifically, unless they are a witness or deponent who the Receiving Party has “a good faith
 belief” authored or received the document or had involvement or responsibilities regarding the
 subject matter, Apple employees would not have access to Highly Confidential materials under
 Apple’s proposal. Additionally, in-house counsel access is limited to four individuals not involved
 in business decisions.

                                                 12
Case 2:24-cv-04055-JXN-LDW              Document 117      Filed 09/20/24      Page 13 of 23 PageID:
                                                871



         Plaintiffs’ own cases recognize the importance of allowing at least in-house counsel access
 to confidential information where necessary. See Sungard, 173 F. Supp. 2d at 21. And Plaintiffs
 have not demonstrated how disclosure of Confidential information to in-house attorneys whose
 responsibilities are largely “legal and security-related” would pose a risk of spillage when all “will
 be subject to non-disclosure / non-use restrictions under the Court’s protective order.” Motorola,
 2010 WL 2179170, at *4.

          The Court should adopt the access proposal outlined in Apple’s approach, which allows
 certain necessary Apple employees and in-house counsel (as well as outside counsel for Apple and
 counsel for Plaintiffs) to access Confidential materials, and limits Highly Confidential materials
 to just outside counsel and a limited number of Apple in-house attorneys.10

                   3. Data Security11

         Apple’s proposal includes industry-standard data security provisions to protect against
 unauthorized access to sensitive data and mitigate risk after a data breach. Plaintiffs claim they
 only can agree to comply with a vague reference to “applicable security, privacy, data protection,
 and breach response and notification laws, rules, regulations, policies, and directives”12 and refuse
 to agree to Apple’s proposed security provisions without articulating why such provisions are
 burdensome or prejudicial. Data breaches pose significant threats, and Apple’s proposed measures
 aim to safeguard all materials disclosed in this action, including those produced by non-parties.

         Data security is at the core of Apple’s business. Apple prioritizes the protection of users’
 data, partners’ business data, and its own trade secrets, business strategy, and financial
 information. Discovery in this case will likely implicate and involve production from all these
 categories, for both Apple and third parties. Data security, moreover, is a significant concern with
 real-world implications. For example, organized criminal groups and hostile state actors perpetrate
 data security attacks with growing frequency. Data breaches have increased year-over-year,
 including a striking 20% jump from 2022 to 2023.13 Indeed, 2024 “is on pace to be the biggest
 year in the history of law firm data breach reports” with 21 law firms filing breach reports to state
 attorneys general offices in the first five months.14 And the government is not immune from data
 breaches. A White House report indicated that in 2023, federal agencies suffered 11 “major” data
 security incidents and that the Department of Justice itself reported “multiple incidents,” including



 11
      Ex. B § L.
 12
      Ex. A § L.
 13
    See Stuart Madnick, Why Data Breaches Spiked in 2023, HARVARD BUS. REV., Feb. 19, 2024,
 available at, https://hbr.org/2024/02/why-data-breaches-spiked-in-2023 (last visited on Sept. 12,
 2024).
 14
    Dan Roe, Law Firm Data Breach Reports Show No Signs of Slowing in 2024, AM. LAWYER,
 May 23, 2024, available at https://www.law.com/americanlawyer/2024/05/23/law-firm-data-
 breach-reports-show-no-signs-of-slowing-in-2024/?slreturn=20240816121021 (last visited Sept.
 16, 2024).

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Case 2:24-cv-04055-JXN-LDW            Document 117        Filed 09/20/24      Page 14 of 23 PageID:
                                              872



 one that impacted “case-specific data analytics support for the Civil Division and several United
 States Attorneys’ Offices.”15 The federal judiciary has also recognized the need to implement
 additional safeguards for court records due to “recent disclosure of widespread cybersecurity
 breaches of both private sector and government computer systems….”16

         In light of this mounting threat,17 Apple’s proposed data security protections are common
 sense and necessary. Courts have approved protective orders including provisions consistent with
 the protections Apple seeks.18 See, e.g., In re Insulin Pricing Litig., No. 17-699, Dkt. 299 at 12
 (D.N.J. Jan. 23, 2020) (“Protected Material…shall be maintained in secure litigation support site(s)
 that applies standard industry practices regarding data security.”); Park v. Sam’s East, Inc., No.
 20-cv-03119, Dkt. 46 § 6 (D.N.J. Sept. 23, 2021) (requiring “secure data storage systems,
 established security policies, and security training for employees, contractors and experts,” as well
 as “data encryption …, data access controls, and physical security”); Apple Inc. v. Rivos, Inc., No.
 5:22-cv-2637, Dkt. 113 at 14 (N.D. Cal. Oct. 31, 2022) (requiring parties to implement an
 information security management system that complies with an industry or government
 cybersecurity framework, encrypt materials in transit, implement MFA, and follow certain
 procedures in response to a data breach); Sheet Metal Workers’ Nat’l Pension Fund v. Bayer
 Aktiengesellschaft, No. 3:20-cv-04737, Dkt. 138 at 19-20 (N.D. Cal. Oct. 6, 2022) (requiring
 storage in a site or source that applies “standard industry practices regarding data security,” among
 other measures); Anderson v. Gen. Motors, LLC, Case No., 2:22-cv-00353, Dkt. 38 at 8 (E.D. Cal.
 Sept. 6, 2022) (similar).

         In Floyd v. Amazon.com, Inc., the court ordered data security protections nearly identical
 to those Apple proposes here. 2023 WL 8701667, at * 1-3 (W.D. Wash. Dec. 15, 2023). The court
 required plaintiff to “implement data management systems complying with established data
 security frameworks” and MFA. Id. Moreover, it adopted a list of reasonable remedial actions to
 be taken in the event of a data breach, similar to the actions proposed here. Id. The Floyd court
 reasoned that defendants’ proposed “commonplace” security measures appropriately safeguarded

 15
    Federal Information Security Modernization Act of 2014 Annual Report Fiscal Year 2023, pp.
 20, 22, available at https://www.whitehouse.gov/wp-content/uploads/2024/06/FY23-FISMA-
 Report.pdf (last visited Sept. 12, 2024).
 16
   https://www.uscourts.gov/news/2021/01/06/judiciary-addresses-cybersecurity-breach-extra-
 safeguards-protect-sensitive-court (articulating the need for additional security measures and
 quoting James C. Duff, Secretary of the Judicial Conference of the United States, stating “The
 federal Judiciary’s foremost concern must be the integrity of and public trust in the operation and
 administration of its courts. . . .”).
 17
    Robert Hilson, Why the archaic process for eDiscovery is vulnerable to hacking and data
 breach, Logikcull (Feb. 8, 2017), https://www.logikcull.com/blog/archaic-process-e-discovery-
 vulnerable-hacking-data-
 breach#:~:text=It's%20an%20incredibly%20risky%20process,channels%20expose%20informati
 on%20to%20breach (last visited on Sept. 12, 2024).
 18
    Plaintiffs note that the Model does not yet include a data security provision. This is unsurprising
 and not dispositive given the technically complex and rapidly evolving nature of cybersecurity
 risks and corresponding safeguards. Courts are issuing data security orders with more frequency.

                                                  14
Case 2:24-cv-04055-JXN-LDW            Document 117        Filed 09/20/24       Page 15 of 23 PageID:
                                              873



 confidential material without unduly burdening the plaintiff or third parties. Id. at *1, 3. The court
 noted that defendants’ proposals for managing a potential data breach were not “burdensome or
 unworkable,” but rather allowed flexibility to “craft an appropriate response based on the particular
 circumstances of a data breach.” Id. at *2.

         Apple proposes the implementation of security measures complying with a recognized
 cybersecurity framework, such as that of the Center for Internet Security or another well-
 recognized industry or government cybersecurity framework. These are frameworks with which
 many vendors and companies already comply, and any burden is minimal. Plaintiffs’ refusal to
 stipulate to these minimum standards is concerning and unwarranted.

         To mitigate the risk of unauthorized access, Apple also proposes encryption of produced
 materials and implementation of multi-factor authentication (“MFA”), measures regularly used in
 data security practice. MFA has been called the “single most important thing Americans can do
 to stay safe online,” and is a simple, highly effective security mechanism.19 In fact, the federal
 judiciary recently requested funding to implement enterprise-wide MFA.20

         Additionally, Apple’s proposal facilitates prompt mitigation and remediation of a data
 breach, including notifying the producing party and providing steps to mitigate the breach.
 Apple’s proposal requires that the receiving party comply with the producing party’s reasonable
 requests to investigate, remediate, and mitigate the effects of the breach, provide information that
 is reasonably requested and relates to the breach, and meet and confer regarding any necessary
 adjustments. In contrast to Plaintiffs’ mere agreement to comply with the law, these provisions
 set clear expectations on basic steps for investigation after a breach. None of these provisions
 imposes significant burdens, and taken together, they provide strong protections from real and
 serious data security threats.

         Notably, the government has been required to implement more stringent security measures
 than what Apple proposes here. See, e.g., United States v. Anthem, Inc., 2024 WL 2982908, *3
 (S.D.N.Y. June 12, 2024) (requiring the government implement “robust” protections). In Anthem,
 the government agreed to, among other things: house data on a bespoke platform, not connected
 to the internet; transfer data via encrypted physical storage; and implement a HITRUST-certified
 security system. Id. The court further required that the government add additional cybersecurity
 protections, including tracking and logging activity on the platform and adopting data loss
 prevention controls. Id.

          To the extent Plaintiffs expect Apple to take it on faith that current laws or policies—
 whatever those may be—mandate sufficient protection for produced data, that is insufficient. In
 recent years, both federal and state governments have failed to adequately protect data produced
 in litigation or otherwise. See, e.g., Anthem, 2024 WL 2982908, at *3 (noting that “given the

 19
    Jen Easterly, Next Level MFA: FIDO Authentication, Cybersecurity & Infrastructure Security
 Agency,       Oct. 18, 2022, https://www.cisa.gov/news-events/news/next-level-mfa-fido-
 authentication (last visited Sept. 12, 2024).
 20
    See The Judiciary Fiscal Year 2023 Congressional Budget Request: Judiciary Information
 Technology Fund, The Administration Office of the U.S. Courts (Mar. 2022).

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Case 2:24-cv-04055-JXN-LDW              Document 117        Filed 09/20/24       Page 16 of 23 PageID:
                                                874



 previous breach [by the government’s vendor], Anthem’s concern for the security of the data is
 reasonable”); Notice of Data Breach, Rob Bonta, Cal. Off. Atty. Gen. (July 8, 2022) (notifying
 citizens that their personal information was disclosed by the California Department of Justice).

         In light of these risks, Apple and this Court “can not [sic] rely on the representations of
 lawyers for the government to conclude that their proposed safeguards are sufficient.” Anthem,
 2024 WL 2982908, at *4. Apple proposes reasonable protections and remedial procedures
 consistent with widely recognized data security standards of care and protective orders in recent
 cases, and asks that the Court adopt its proposal.

 III.      ESI PROTOCOL

           A. Plaintiffs’ Position (ESI § IV.10)

         Plaintiffs’ ESI Protocol requires a Producing Party to provide metadata for relevant linked
 documents from communications within the production. It appropriately requires the Producing
 Party to provide this information. Under Apple’s proposal, no information about linked documents
 is provided unless requested. Apple requires that the Requesting Party ask for any information
 about specific linked documents—inverting standard discovery burdens. Plaintiffs’ proposal
 incorporates Apple’s proposal, but also requires a Producing Party to provide metadata about
 relevant linked files in the first instance, instead of requiring the Requesting Party to seek
 additional information about specific documents after production occurs.

         Apple contends Plaintiffs’ separate proposal (“Plaintiffs’ Proposal”) is unduly burdensome
 without engaging with it. Apple has never responded to multiple, repeated requests for information
 about its concerns with Plaintiffs’ Proposal.21 It has not shared simple information that could allow
 the parties to collaborate or compromise. Contrary to Apple’s contentions, nothing in Plaintiffs’
 Proposal requires collection of documents from a Party’s files and servers. Yet Apple’s cases and
 position suggest it does. Apple offers only the cursory conclusion that Plaintiffs’ Proposal is
 manual and therefore burdensome. That is inadequate. “A party resisting discovery on the grounds
 of burden or expense bears the burden of showing specifically how the request is burdensome.”
 IQVIA, INC. v. Veeva Sys., Inc., 2019 WL 3069203, at *5 (D.N.J. July 11, 2019) (requiring linking
 of documents). Apple fails to make this showing.

                   1. Linked Documents Are Critical to Business Today

         Linked documents (such as iCloud.com or Box.com files) are collaborative files that enable
 people to work together on a document. Linked documents are critical to contemporary business.
 Often, the most important documents in a company are not created by an individual contributor,
 but reflect collaboration and input from many people and potentially many teams. The most
 important documents are often linked documents.

       This is especially true for Apple. Apple employees routinely transmit and share linked
 documents. There are hyperlinks to tens of thousands of collaborative documents in Apple’s pre-

 21
      Plaintiffs’ Letter to Alexia Brancato (Sept. 14, 2024) (“Sept. Letter”).

                                                    16
Case 2:24-cv-04055-JXN-LDW           Document 117        Filed 09/20/24      Page 17 of 23 PageID:
                                             875



 Complaint productions. Apple appears to handle entire projects on collaborative platforms, and
 relevant Apple communications link to files in collaborative platforms, such as Quip.com,
 iCloud.com, and Slack.com.

        Apple does not dispute that its linked documents contain relevant information and are
 important to its business.

                2. Plaintiffs’ Proposal Is Narrowly Drawn

        Plaintiffs’ Proposal recognizes the importance of linked documents but is crafted to reduce
 the burdens on a Producing Party by requiring reasonable and limited productions. For example:

    •   Plaintiffs’ Proposal does not require production of any additional linked documents that
        are not already identified for production. It only requires production of metadata to enable
        cross-referencing of relevant linked documents in the production.

    •   Plaintiffs’ Proposal does not apply to all linked documents that are identified, preserved,
        or collected. It only applies to linked documents within the production, i.e., relevant,
        responsive documents.

    •   Even then, Plaintiffs’ Proposal does not require hyperlink metadata for all linked
        documents within the production. It only requires metadata for linked documents in the
        production where the hyperlink also appears relevant based on the face of the
        communication.

 These significant limits are intended to ensure that the value of the linked document information
 is high and the burden is proportionate and tailored to the needs of the case.

                3. Plaintiffs’ Proposal Is Reasonable and Proportional

        Plaintiffs’ Proposal only requests metadata for relevant linked documents from
 communications within the production—without requesting the documents themselves. The
 proposal itself builds in significant limits and proportionality analysis.

         The proportionality factors favor Plaintiffs’ Proposal. Rule 26(b)(1) proportionality
 assesses the “importance of the issues at stake.” Here, this landmark antitrust action raises issues
 of national importance for consumers nationwide. See, e.g., Lawlor v. Nat’l Screen Serv. Corp.,
 349 U.S. 322, 329 (1955) (recognizing “the public interest in vigilant enforcement of the antitrust
 laws”); FED.R.CIV.P. 26 advisory committee’s note (recognizing the importance of “cases in
 public policy spheres” and injunctive cases “that seek[] to vindicate vitally important personal or
 public values”).

         The “parties’ resources” favor Plaintiffs’ Proposal. FED.R.CIV.P. 26(b)(1). Apple is a
 sophisticated technology company and one of the largest publicly traded companies in the world.
 There is no doubt that Apple, the company that created some of these communication and

                                                 17
Case 2:24-cv-04055-JXN-LDW             Document 117        Filed 09/20/24      Page 18 of 23 PageID:
                                               876



 collaboration platforms (like iCloud, iMessages, and Apple Mail), can comply with its discovery
 obligations by producing linked document metadata. Apple’s vast monetary resources and unique
 technology expertise are features in the proportionality analysis.22 Any solutions Apple
 implements to automatically pull linked document metadata in this case would benefit Apple’s
 other cases—and any cost to Apple for doing so should be amortized across Apple’s docket of
 thousands of cases from the past decade.

                      4. Apple Fails to Show Undue Burden

        Apple protests that Plaintiffs’ Proposal is unduly burdensome because it is not automatic.
 But access to an automatic tool is not the end of the inquiry. Like any sophisticated, repeat litigant,
 Apple cannot fail to invest in necessary tools for modern eDiscovery and then evade compliance
 by claiming that the process is unduly burdensome without those tools.

         Sophisticated parties regularly produce linked documents. For example, Google recently
 agreed to produce all links from its emails to collaborative documents on its proprietary
 collaborative platforms, and Ticketmaster and Live Nation agreed to produce linked documents
 and metadata in OneDrive, SharePoint, and Teams. See Letter Agreement, United States v. Google,
 1:20-cv-03010 (D.D.C. Jan. 15, 2021); Order Governing ESI Discovery, ECF 249 at 12, United
 States v. Live Nation, 1:24-cv-03973 (S.D.N.Y. Aug. 28, 2024).

         Plaintiffs did not seek all linked documents here because Apple represented this would not
 be feasible. While Plaintiffs are not aware of identical ESI protocols, other courts have largely
 rejected far broader requests for linked documents, without the tailoring evident here.23 Cases
 involving far broader proposals say little about Plaintiffs’ carefully crafted proposal.

         To establish undue burden, Apple must offer specifics that it has not provided. “The
 application of proportionality should be based on information rather than speculation.”24 “Burden
 and expense should be supported by hard information and not by unsupported assertions.” 25 But
 Apple has not responded to Plaintiffs’ repeated requests for information about its concerns with
 Plaintiffs’ Proposal.26 Apple has not provided basic information, such as what processing and

 22
   See The Sedona Conference, Commentary on Proportionality in Electronic Discovery, 18
 Sedona Conf. J. 141, 172 (2017) ( “Sedona, Proportionality”).
 23
   See In re Insulin Pricing Litig., 2024 WL 2808083, at *7-8 (D.N.J. May 28, 2024) (plaintiffs
 sought “family-complete” linked documents, requiring collection of all linked documents,
 regardless or relevance or value); Nichols v. Noom, Inc., 2021 WL 948646 (S.D.N.Y. Mar. 11,
 2021) (plaintiffs sought all linked documents regardless of relevance or value); see In re StubHub
 Refund Litig., 2024 WL 2305604, at *1-3 (N.D. Cal. May 20, 2024) (defendants identified and
 matched collected documents to their hyperlinks already).
 24
      Sedona, Proportionality 162 (Principle 4).
 25
   Id. at 167; see FED.R.CIV.P. 34(b)(2)(B) (responding party must “state with specificity the
 grounds for objecting to the request, including the reasons”).
 26
      Sept. Letter.

                                                   18
Case 2:24-cv-04055-JXN-LDW            Document 117       Filed 09/20/24      Page 19 of 23 PageID:
                                              877



 review tools it will use or where hyperlinks are stored on Apple’s collaborative platforms.27
 Missing information like this is critical to Apple’s claims of burden and technical infeasibility.

         Apple’s primary, disingenuous argument is that it lacks an automated tool to accomplish
 Plaintiffs’ Proposal. But simple eDiscovery tools can automatically extract hyperlinks, and those
 tools can be configured to extract hyperlinks from only specific platforms (like box.com) or with
 specific text (like document IDs).28 Similarly, matching metadata is common and straightforward
 in any large-scale litigation. Matching hyperlinks in communications with their shared documents
 involves matching metadata. eDiscovery service providers and in-house discovery teams regularly
 and automatically match metadata of all kinds. And collaborative platforms—like box.com—can
 store and export shared links for all collaborative documents.29

       Apple has multiple, feasible options to fulfill its discovery obligations under Plaintiffs’
 Proposal, and it has failed to establish otherwise.

            B. Defendant’s Position

                  1. Production of Linked Files and Collaborative Work Environments30

         The Parties dispute the proper way to handle producing hyperlinks contained in responsive
 documents. Apple’s proposal allows for the receiving party to make reasonable requests for the
 producing party to identify and, if found, produce hyperlinks contained in produced documents.
 While Plaintiffs seemingly have agreed to Apple’s compromise to search for requested documents,
 Plaintiffs insist that in addition the Parties must identify all corresponding hyperlinks within
 produced documents and provide metadata and logs for those files. The Court should adopt
 Apple’s proposal because there is no automated process to collect and associate documents or
 hyperlinks in the way Plaintiffs request.

         Unpacking Plaintiffs’ proposal reveals just how burdensome it is. In the absence of an
 automated tool, their suggested process requires that during pre-production review of documents
 the parties: (1) manually identify all hyperlinks in documents that are to be produced; (2) evaluate
 each hyperlink within the document to determine whether it links to another document; (3) make
 a determination whether the linked document is potentially relevant; (4) manually populate a
 metadata field with each hyperlink address for a document determined to be potentially relevant;
 (5) conduct a manual search to see if the documents corresponding to those hyperlinks are also in
 the production universe; and (6) manually populate a metadata field with a corresponding bates


 27
      Id.
 28
   For example, regular expression (“RegEx”) searches enable parties to automatically extract
 hyperlinks. RegEx searches are tools commonly available in eDiscovery platforms, and parties
 commonly use RegEx searches to identify PII for potential redactions.
 29
   See, e.g., Box.com Shared Link Report, https://support.box.com/hc/en-
 us/articles/4415098138899-Shared-Links-Report (last updated June 25, 2024).
 30
      Ex. C § V.10.

                                                 19
Case 2:24-cv-04055-JXN-LDW           Document 117         Filed 09/20/24      Page 20 of 23 PageID:
                                             878



 number if the document was produced; or (7) for documents not produced, create a log of the
 hyperlinked addresses. This is unduly burdensome.

         In contrast, Apple’s common-sense proposal allows for the receiving party to identify
 hyperlinks contained in produced documents and make reasonable requests for the producing party
 to search for a corresponding relevant link and, if found, produce that document.

         The Court should adopt Apple’s proposal because Apple does not have an automated tool
 capable of implementing Plaintiffs’ proposal and to Apple’s knowledge no such off-the-shelf tool
 exists in the market. Courts have found that “hyperlinks are not the same as traditional
 attachments.” In re Insulin Pricing Litig., 2024 WL 2808083, at *7 (D.N.J. May 28, 2024); see
 also Nichols v. Noom Inc., 2021 WL 948646, at *4 (S.D.N.Y. Mar. 11, 2021) (noting that
 hyperlinks are not the same as attachments). Because hyperlinks are not attachments, collecting,
 processing, reviewing, or producing them as “family” members with the documents in which they
 are transmitted is not technologically feasible absent an automated tool.

         In the absence of automated tools, courts have adopted approaches similar to Apple’s
 proposal, where the parties make reasonable requests to search for and produce hyperlinked
 documents. Like Apple, the defendants in In re Insulin also did not have an automated tool and
 thus objected to the plaintiff’s proposal to search, collect, associate, and produce hyperlinks. 2024
 WL 2808083, at *7. The court agreed with defendants and found that because defendants’ “tools
 are either not feasible whatsoever or unduly burdensome to apply to their respective data
 environments” the defendants were not required to collect hyperlinks. Id.; see also In re StubHub
 Refund Litig., 2024 WL 2305604, at *1 (N.D. Cal. May 20, 2024) (removing requirement that
 hyperlinked documents be produced in document family groups when there is no automated tool);
 In re Meta Pixel Healthcare Litig., 2023 WL 4361131, at *1 (N.D. Cal. June 2, 2023) (finding
 “parties should consider reasonable requests for production for hyperlinked documents on a case-
 by-case basis. Such requests should not be made as a matter of routine”); Nichols, 2021 WL
 948646, at *1 (noting that defendant “has already agreed to produce a reasonable number of linked
 documents at Plaintiffs’ request” and refusing to require defendant to collect all hyperlinks).

         Notably, the government recently agreed to provisions substantially similar to Apple’s
 proposal in other recent antitrust litigations. See e.g., United States v. Google LLC, No. 1:23-cv-
 00108-LMB, Dkt. 142 at 26 (E.D. Va. Apr. 20, 2023) (stipulating to language nearly identical to
 Apple’s proposal); see also Texas v. Google LLC, No. 4:20-cv-00957-SDJ, Dkt. 183 at 24 (E.D.
 Tex. Dec. 13, 2023) (same). Instead of similarly agreeing to a straight-forward approach here,
 Plaintiffs insist upon requiring Apple to manually search for and provide additional information
 on top of what Apple has already agreed to provide.

         Plaintiffs’ proposal is unduly burdensome and inefficient. Plaintiffs’ proposal will
 significantly disrupt and delay Apple’s workflow for processing, review, and production of
 documents. Creating this manual workflow will only serve to complicate an already complex
 review and slow down Apple’s ability to review and produce documents. Courts frequently refuse
 to impose this kind of burden. See In re Meta Pixel, 2023 WL 4361131, at *1 (refusing to require
 defendants to use a tool or process that would “disrupt [its] standardized workflow for ESI-related
 discovery processing across all of its platforms and systems,” and holding the “ESI protocol should

                                                  20
Case 2:24-cv-04055-JXN-LDW            Document 117         Filed 09/20/24       Page 21 of 23 PageID:
                                              879



 make clear that hyperlinked documents are not treated as conventional attachments….”); In re
 StubHub Refund Litig., 2024 WL 2305604, at *2 (finding that the “non-existence of commercially
 available software that can implement the hyperlink requirement tips strongly” in removing the
 requirement to collect hyperlinks).

        Curiously, Plaintiffs argue that Apple must divert money and resources from its business
 and enter the eDiscovery space to develop tools to assist litigants with collecting and producing
 hyperlinks. Plaintiffs cite no authority for such a bold assertion. It is well settled that parties need
 only produce documents as they are stored in the “usual course of business,” and courts do not
 require parties to invent new technology to respond to discovery requests and make unduly
 burdensome requests less burdensome. Fed. R. Civ. P. 34(b)(2)(E)(i); see Nichols, 2021 WL
 948646, at *4 (rejecting plaintiffs’ proposal that would require defendant’s programmers to
 develop a tool to search and associate hyperlinks).

        The one case on which Plaintiffs rely supports Apple’s proposal.31 In United States v.
 LiveNation, the parties agreed that “to the extent reasonably feasible and capable of being done
 automatically, the producing party shall use its best efforts using available technical solutions to
 produce the document corresponding with each identified link.” No. 1:24-cv-03973, at 12
 (S.D.N.Y. Aug. 28, 2024) (emphasis added).32 As Apple has repeatedly explained, Plaintiffs’
 proposal is not reasonably feasible nor capable of being done automatically.

        Finally, Plaintiffs mischaracterize Apple’s proposal as somehow attempting to evade its
 discovery obligations. This is false. Apple has never indicated that it would not search, collect, or
 produce responsive information from appropriate data sources. Given current technical limitations,
 Apple, like many companies, simply cannot pair the pointer email or messages and hyperlinked
 documents on the back end.




 31
    Plaintiffs cite a Letter Agreement in United States v. Google LLC, No. 1:20-cv-03010-APM
 (D.D.C. Jan. 15, 2021), but Apple was unable to locate this letter on the docket and, regardless,
 the ESI Protocol filed in that matter did not provide for the production of hyperlink files. See
 United States v. Google LLC, No. 1:20-cv-03010-APM, Dkt. 99 (D.D.C. Jan. 21, 2021). Moreover,
 Plaintiffs explain that Google agreed to produce hyperlinks for OneDrive, SharePoint, and Teams,
 which are part of Microsoft’s suite and may have an automatic tool to connect links to their
 messages.
 32
    The protocol in LiveNation also states that “[t]o the extent reasonably feasible and capable of
 being done automatically, for each Linked Attachment, the producing party will use available
 technical solutions to attempt to populate the LINKEDPARENTIDS field with the document
 control numbers … [and] the producing party will employ commercially reasonable efforts to
 provide an overlay file populating these two fields … to the extent feasible with available technical
 solutions.” LiveNation, No. 1:24-cv-03973, at 12 (emphasis added).

                                                   21
Case 2:24-cv-04055-JXN-LDW          Document 117      Filed 09/20/24     Page 22 of 23 PageID:
                                            880



  Respectfully submitted,

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                                                22
Case 2:24-cv-04055-JXN-LDW          Document 117        Filed 09/20/24      Page 23 of 23 PageID:
                                            881

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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

     UNITED STATES OF AMERICA et al.,

                    Plaintiff,
                                                       Case No. 2:24-cv-04055-JXN-LDW
            v.

     APPLE INC.

                    Defendants.

                                  CERTIFICATE OF SERVICE

           I hereby certify that the above letter and this Certificate of Service were served

    upon defendant’s counsel, Liza M. Walsh, Esq., Craig S. Primis, Esq., Devora W. Allon,

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